  Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 1 of 10 PageID #:6297


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


UNITED STATES OF AMERICA )
                         )
     v.                  )                   CASE NO. 03 CR 90
                         )                   Honorable Ruben Castillo
STEPHEN SUSINKA          )
                         )


                     DEFENDANT=S SENTENCING MEMORANDUM


       NOW COMES the Defendant, STEPHEN SUSINKA, by and through his attorneys, Jack

P. Rimland and Steven M. Wagner, and hereby submits Defendant=s Sentencing Memorandum to

the Court. For the reasons stated below the statutory maximum of twenty (20) years

imprisonment is greater than necessary to satisfy the Federal Sentencing goals of 18 U.S.C. Sec.

3553 (a)(2).

                                          Introduction

     This case is before the Court for sentencing after a verdict of guilty on April 21, 2008.

The defendant was found guilty on Count 1 of the Superceding Indictment, for the offense of

Racketeering Conspiracy under 18 U.S.C. Sec. 1962 (d) as reflected in both the Pre-sentence

Investigative Report, prepared by the United States Probation Office and the Government=s

Sentencing Position Paper submitted by the United States Attorney. The statutory maximum

sentence is twenty (20) years imprisonment. The U.S.S.G. for violation of 18 U.S.C. Sec. 1962

(d) is found in Sec. 2E1.1 and calls for a base offense level of 19. Assuming arguendo, the

defendant has a criminal history category IV, (the defendant Stephen Susinka has filed on his

own behalf a number of sentencing submissions which address these very issues) the advisory

guideline range would be 46-57 months imprisonment.
         Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 2 of 10 PageID #:6297




              Accordingly, defendant Stephen Susinka prays this Honorable Court will impose a

     sentence below the statutory maximum of twenty (20) years imprisonment. A sentence below

     the

     statutory maximum will punish Stephen Susinka for his illegal conduct and does not deprecate

     the seriousness of the offense.

            One of the main factors this Honorable Court should consider in sentencing pursuant to 18

   U.S.C. Sec. 3553 (a) is the following:

            History and Characteristics of the Defendant

           Stephen Susinka=s parents, Teresa and Stephen Susinka, Sr., although perhaps well

  intentioned, lacked the resources necessary to raise successful children in an environment of crime

  and violence.

           Stephen=s father, Stephen Sr., is a long-term, chronic alcoholic. This is confirmed by both

  Stephen=s school records 1 and treatment records for Bridget Susinka, Stephen=s sister. 2

           The Susinka parents did not have the time, nor ability, to help their children successfully

overcome the challenges they faced. Neither of Stephen=s parents have a high-school diploma and

both worked long hours trying to make ends meet. They were rarely home with the children and when

they were, Stephen senior=s alcoholism prevented him from parenting his children. Bridget=s


     1
         Attachment A, Social Development Study, dated 10/27/97 at Mit-135.
     2
       Attachment B, Placement Goal Plan & Progress Report concerning Bridget Susinka, dated
     2/27/96 at BS-66.




                                                       2
         Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 3 of 10 PageID #:6297


psychiatric treatment records related that ABoth parents work full-time on opposite shifts and have

difficulty providing supervision for both children.@ 3




     3
         Attachment B, Placement Goal Plan & Progress Report concerning Bridget Susinka at BS-66.



                                                         3
         Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 4 of 10 PageID #:6297


         Stephen=s mother Teresa suffers from depression. Her therapist, Donna Boebel, reports that

Teresa has been depressed for many years, but refuses to take anti-depressants or anti-anxiety

medication. Teresa=s depression is also noted in Stephen=s school records. 4 Of course, Teresa=s

depression affected her children: as the Surgeon General explains, Achildren of depressed parents are

more than three times as likely as children with nondepressed parents to experience a depressive

disorder. They also are more vulnerable to other mental and somatic disorders.@ 5

         Limited by job and money demands, emotional instability, and chemical dependency,

Stephen=s parents were ill equipped to set the boundaries and provide the protection necessary for

young children, especially children growing up in an environment as lawless as the Susinka=s.

According to Bridget=s treatment records, by the time she was 14, Bridget Awas out of parental control

in that she would come and go as she pleased.@ 6

         In spite of adverse circumstances, Stephen was a successful child. He did well academically




     4
         Attachment D, Aurora East Public School Medical History at Mit-147.
     5
       Mental Health: A Report of the Surgeon General,
     http://www.surgeongeneral.gov/library/mentalhealth/chapter3/sec5.html (citations omitted).
     6
         Attachment B, Placement Goal Plan & Progress Report concerning Bridget Susinka at BS-64.




                                                   4
          Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 5 of 10 PageID #:6297


receiving mostly As and Bs through third grade. 7 His kindergarten teacher commented: ASteve is a

gifted learner. This has been quite a year for Steve. He sure has made fantastic growth.@ 8 When he

was eight years old, Stephen scored between the 89th and 99th percentile in all subjects on Iowa Tests

of Basic Skills. 9 He enjoyed sports, including t-ball and karate. 10 But the influence of his >gang-

banging= sister and the crime that surrounded Stephen was difficult to resist.

          Bridget and Stephen were only two years apart in age and when he was young, Stephen looked

up to his sister: Bridget states that he followed her around and always wanted to hang out with her.

With his mother at work and his father drunk, Bridget was Stephen=s most prominent role model.

          Stephen was frequently exposed to the criminal activities of the older sister he looked up to.

Bridget states that Stephen knew she was selling drugs and that she kept drugs and guns in the house.

Stephen continued to follow Bridget around even when she was hanging out on the corner with other

gang members. Bridget would ask her mother to keep Stephen home, but her mother told her to let

Stephen come along.




     7
          Attachment E, Elementary-School Records for Stephen Susinka.
     8
          Id.
     9
          Id. at Mit-16.
     10
           Attachment F, childhood photos of Stephen Susinka.




                                                   5
          Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 6 of 10 PageID #:6297


          The Insane Deuces were a large presence in young Stephen=s childhood and gang members his

most common role models. Bridget told the grand jury, AA lot of ID Junior and Shorty members began

hanging out at my parents house@ in 1991 and 1992, 11 when Stephen was eight and nine. When

Bridget was 13 and Stephen was around 11, Bridget=s boyfriend, an Insane Deuce, moved into the

Susinka house. He lived there for a year.

          Aurora Police Sergeant Kearbey, a former gang officer, explained that the Susinka=s corner

was the heart of Insane Deuces territory, and there would often be dozens of gang members loitering

on the corner or in front of the house. Bridget told the grand jury that the corner of Ohio Street and

Second Avenue, where her parent’s house is located, was one of three spots within Insane Deuces

territory where each gang member was required to spend at least 30 minutes a day. 12 Sergeant

Kearbey also confirmed that the Susinka=s across-the-street neighbor was a gang leader.




     11
           Grand Jury Testimony of Bridget Susinka.
     12
           Grand Jury Testimony of Bridget Susinka.




                                                  6
           Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 7 of 10 PageID #:6297


           The effect of Bridget=s behavior on her younger brother was profound. As Stephen=s school

counselor noted, AWhen Bridget starting having problems, Steve was in 4th grade. Problems with him

began then.@ 13

           Stephen=s grades began to drop and he began to act out in school. He was diagnosed with

attention-deficit disorder and prescribed Ritalin. 14

           As a child, Stephen learned that violence and crime where expected and accepted parts of

everyday life. In 1994, Bridget reported that at least 25 of her friends had been shot that year. 15 The

Insane-Deuce kingpin across the street was the target of several drive-by shootings. On November 20,

1996, Stephen personally witnessed one of these shootings, and discussed his observations with

responding police officers. He was not quite 13 at the time.

           Violence touched members of the Susinka family. Bridget told the grand jury about four

occasions when she fired shots at other people and describes two shootings that took place at or near

her family=s home, one in which Bridget and her boyfriend were shot at while taking Bridget=s three

small children out of the car. 16

           And violence was within the family. In addition to Stephen senior=s abuse, Bridget used to get


      13
            Attachment A, Social Development Study at Mit-137.
      14
            Attachment D, Medical History at Mit-147.
      15
         Attachment H, Linden Oaks Hospital Integrated Progress Notes concerning Bridget Susinka,
      dated October 19, 1994 at BS-380
      16
            Grand Jury Testimony of Bridget Susinka.




                                                   7
          Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 8 of 10 PageID #:6297


in violent arguments with Stephen. Therapist Donna Boebel reports that Bridget attacked Stephen at

least once with a knife.

          The gang activity and violence in the Susinka=s neighborhood was so omnipresent, and

Bridget=s involvement in gang life was so deep, that Aurora police advised Mrs. Susinka to move her

family to a different area. Although they owned their house and could have sold it to finance a move,

the Susinka family elected instead to continue to raise their children in an epicenter of gang activity

and violence.

          The violence around Stephen seemed inescapable. When he was young, he stayed inside

during his free time, because he was afraid of the violence on the street. By the time he was in fifth

grade, gang members began asking Steve to join. Steve would cut through the neighbor’s= yards and

sneak through a hole in the fence to avoid the gang members on his way home from school.

          Stephen=s fears were well founded: he too became the victim of extreme violence. On

December 27, 2000, when he was 17, he was a victim in a drive-by shooting at the convenience store

just a few blocks from his house. He was severely injured: the bone of his right arm was Ashattered@

and he had pins in his arms for months afterward. 17 Stephen believed had he not been raising his

hand, he would have been shot in the heart and killed.

          Stephen=s mother and his therapist, Donna Boebel, state that Stephen changed dramatically

after he was shot. He became withdrawn, depressed, and extremely fearful. He would call his mother

when he was on his way home and ask her to watch for him: he wanted her make sure he made it

safely from the car in the driveway into the house. Ms. Boebel says that Stephen showed signs of

post-traumatic-stress disorder. Stephen was desperate for protection and for safety.

          At age 17, Stephen Susinka=s life embodied the nightmares of his childhood. In fifth grade, at


     17
           Attachment I, Copley Memorial Hospital Records.


                                                  8
        Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 9 of 10 PageID #:6297


Beaupre Elementary School, Stephen wrote this poem, expressing his fear and resignation in the face

of the brutality of his surroundings:



            AMy Neighborhood@

            We=ve got to stop the violence,
            Cause 5-0 can=t do it.
            The way my hood is,
            I doubt if I=ll live through it.
            Stop it before we have to pay,
            For all the other people=s gangster ways.

            For God created you and me,
            To live in peace and harmony.
            Everyone knows that God is willing
            To help us stop all the killing.

            If someone can think of just one more way,
            It might stop all the wars and all the HATE.
            The way it is in my neighborhood,
            Everyone knows that it=s not good.
            If we don=t live the way God made us for,
            By tomorrow we=ll all be knocking on heaven=s door.

            If this lasts just one more day,
            I know that we=ll be lying in a grave.
            So stop the violence before we=re all gone.
            The way it is we won=t live long.

            WHEREFORE, for the various reasons put forth, the defendant, Stephen Susinka prays

    this Honorable Court will sentence him to a term of imprisonment which is below the statutory

     maximum of 20 years.


                                                    Respectfully submitted,

                                                    s/Jack P. Rimland
                                                    Jack P. Rimland
                                                    Steven M. Wagner
                                                    Attorneys for Defendant

    820 W. Jackson Boulevard, Suite 300

                                                9
  Case: 1:03-cr-00090 Document #: 1212 Filed: 01/05/09 Page 10 of 10 PageID #:6297


Chicago, IL 60607
(312) 831-1500
(312) 879-1785




                                        10
